   Case 9:23-cv-80309-RS Document 3 Entered on FLSD Docket 03/01/2023 Page 1 of 2




AO 440 (Rev. 06/12) Summons in a Civil Action


                                            UNITED STATES DISTRICT COURT
                                                              for the

                                            SOUTHERN DISTRICT OF FLORIDA

                                                                        )
Shannen Dugan,                                                          )
                             Plaintiff(s)                               )
                                                                        )
                                   v.                                   )                                 9:23-cv-80309-RS
                                                                        )      Civil Action No.
                                                                        )
Account Resolution Services and Experian                                )
Information Solutions, Inc.,                                            )
                            Defendant(s)

                                                SUMMONS IN A CIVIL ACTION

 To: (Defendant's name and address)
    Account Resolution Services
    1643 NW 136th Ave Ste 100
    Sunrise, Florida 33323,

          A lawsuit has been filed against you.

        Within 21 days after service of this summons on you (not counting the day you received it) – or
60 days if you are the United States, or a United States agency, or an officer or employee of the United
States described in Fed. R. Civ. P. 12 (a)(2) or (3) – you must serve on the plaintiff an answer to the
attached complaint or a motion under Rule 12 of the Federal Rules of Civil Procedure. The answer or
motion must be served on the plaintiff or plaintiff's attorney, whose name and address are:

                                                      CRAIG B. SANDERS
                                                   SANDERS LAW GROUP
                                                333 Earle Ovington Blvd, Suite 402
                                                      Uniondale, NY 11553

       If you fail to respond, judgment by default will be entered against you for the relief demanded in
the complaint. You also must file your answer or motion with the court.

                                                                 CLERK OF COURT

           Mar 1, 2023
 Date: ______________________                                    ________________________________________
                                                                 Signature of Clerk or Deputy Clerk
                                                                                               s/ N. Wilner
   Case 9:23-cv-80309-RS Document 3 Entered on FLSD Docket 03/01/2023 Page 2 of 2




AO 440 (Rev. 06/12) Summons in a Civil Action


                                            UNITED STATES DISTRICT COURT
                                                              for the

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Shannen Dugan,                                                          )
                             Plaintiff(s)                               )
                                                                        )
                                   v.                                   )      Civil Action No.           9:23-cv-80309-RS
                                                                        )
Account Resolution Services and Experian                                )
Information Solutions, Inc.,                                            )
                            Defendant(s)                                )

                                                SUMMONS IN A CIVIL ACTION

 To: (Defendant's name and address)
    Experian Information Solutions, Inc.
    C/O CT Corporation System
    28 Liberty Street
    New York, New York 10005,

          A lawsuit has been filed against you.

        Within 21 days after service of this summons on you (not counting the day you received it) – or
60 days if you are the United States, or a United States agency, or an officer or employee of the United
States described in Fed. R. Civ. P. 12 (a)(2) or (3) – you must serve on the plaintiff an answer to the
attached complaint or a motion under Rule 12 of the Federal Rules of Civil Procedure. The answer or
motion must be served on the plaintiff or plaintiff's attorney, whose name and address are:

                                                     CRAIG B. SANDERS
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 Date: ______________________                                    ________________________________________
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                                                                                               s/ N. Wilner
